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5
     Attorney for Defendant, GREGORIO OLMOS III
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8
                           UNITED STATES DISTRICT COURT
9
                          EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,)        Case No: 1:10-CR-00080-AWI-2
12                            )
                              )        EX PARTE APPLICATION FOR
13             Plaintiff,     )        ORDER EXONERATING BOND;
                              )        ORDER THEREON
14   vs.                      )
                              )
15   GREGORIO OLMOS III,      )
                              )
16             Defendant.     )
                              )
17
18
          Defendant, GREGORIO OLMOS III, by and through his attorney of
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     record, David Balakian, hereby requests an order exonerating bond in
20
     this action.
21
          A bail bond was posted in the amount of $60,000.00 by Garcia Family
22
     Bail Bonds through Bankers Insurance Company; Bond Number 542000224-2.
23
          On January 14, 2015, sentence was imposed, whereby Defendant was
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     committed to the Bureau Of Prisons. Presently, Defendant is in custody
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     serving his sentence.
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27
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     Case 1:10-cr-00080-DAD-BAM Document 178 Filed 09/29/15 Page 2 of 2




1             Accordingly, exoneration of bond is requested.
2    DATE: September 22, 2015                   Respectfully   submitted,
3
4                                                /s/ DAVID V. BALAKIAN
                                                David V. Balakian,
5                                               Attorney for Defendant,
                                                GREGORIO OLMOS III
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7
8
9                                         ORDER
10            It appearing that no further court appearances are required in case
11   number 1:10-CR-00080 AWI, bail is hereby ordered exonerated.
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     IT IS SO ORDERED.
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14   Dated:     September 28, 2015
                                          SENIOR DISTRICT JUDGE
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